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                                  HARRISONBURG D IVISION


  UNITED STA TES OF AM EIUCA                   )
                                               )     CriminalActionNo.5:06CR00041-004
                                               )                  .
                                               )     M EM OM NDUM OPINION
  M ARC AND RE FLEURIVAL,                      )
                                               )     By:Hon.GlenE.Conrad
         Defendant.                            )     SeniorUnitedStatesDistrictJudge


         Defendant M arc A ndre Fleurival,through counsel,has filed an em ergency m otion for

  reduction ofsentence pursuantto the FirstStep Actof 2018. The m otion has been fully briefed

  and isripe forreview . Forthe follùwing reasons,thq courtw illgrantthedefendant'sm otion.

         On September6,2006,agrandjury intheWesternDistrictofVirginiareturnedamulti-
  countindictm entagainstthe defendant. CountOne ofthe indictm entcharged the defendantw ith

  conspiracytodistribute50gramsormoreofcocainebase,inviolationof21U.S.C.jj841(a)(1)
  and(b)(1)(X),and 846. ThegovernmentGledanoticeofenhanced punishmentpursuantto 21
  U.S.C.j851. Asaresultofthepriorfelonydrugconvictionlistedinthenotice,thedefendant
  faced a m andatory m inim um term of im prisonm ent of 240 m onths for the conspiracy offense

  charged in CountOne,asw ellas a m andatory period ofsupervised release ofatleastten years.

  See21U.S.C.j841(b)(1)(A)(2006).OnMarch20,2007,thedefendantenteredapleaofguilty
  to thatcount.

         The defendant appeared for sentencing on August 24,2007. A t that tim e,the court

  adopted the presentence reportprepared by the United States Probation Office,w hich attributed

  499.9 gram s ofcocaine base to the defendant. This particular drug quantity and type resulted in

  a base offense level of 34 under the applicable version of the United States Sentencing




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  Guidelines(CSU.S.S.G.''). SeeU.S.S.G.j2D1.1(c)(3)(2006). Withathree-levelreductionfor
  acceptance of responsibility and a crim inalhistory category of VI, the defendant's guideline

  range would have been 188 to 235 months of imprisonm ent. However,because the statutory
  m andatory m inim um sentence of240 m onthsw as greaterthan the othem ise applicable guideline

  range,thatsentence became the guideline sentence. See U.S.S.G. j 5G1.1(b) (ççW here a
  statutorily required m inim um sentence is greater than the m aximum ofthe applicable guideline

  range,thestatutorily required minimum sentenceshallbetheguidelinesentence.''). Thecourt
  ultim ately im posed a term of imprisonm entof 240 m onths,to be follow ed by a ten-yeartel'
                                                                                             m of

  supervised release.

         The parties agree thatthe defendant is now eligible for a sentence reduction under the

  new ly-enacted First Step Act of 2018. Section 404 ofthe First Step A ctperm its the courtto

  retroactively apply the statutory penaltiesm oditsed by theFairSentencing A ctof2010. See First

  StepActof2018,115Pub.L.391,j404,132 Sht.5194 (enactedDec.21,2018);seealso 18
  U.S.C.j3582(c)(1)(B)(authorizingcourtstomodifyasentenceofimprisonmentçEtotheextent
  otherwiseexpresslypermitted by statute'). Section404providesthatççla)courtthatimposed a
  sentence fora covered offense m ay,on m otion ofthe defendant,...im pose a reduced sentence

  asifsections2and3oftheFairSentencingActof2010(PublicLaw 111-220;124 Stat.2372)
  wereineffectatthetimethecoveredoffensewascommitted.'' 115Pub.L.391,j404(b).The
  Act defnes a ççcovered offense''as ç6a violation of a Federalcrim inal statute,the statutory

  penaltiesofwhichweremodifiedby section 2 or3 oftheFairSentencing Actof2010(Public
  Law 111-220;124 Stat.2372),thatwascommittedbeforeAugust3,2010.''1d.j404(a).
         ln this case, it is undisputed that the defendant's offense of conviction is a G'covered

  offense''forpurposes of the FirstStep Act. The offense w ascom m itted before A ugust3,2010,


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  and the applicable statutory penalties were m odifed by section 2 of the Fair Sentencing Act,

  which Gçreduced the statutory penalties forcocaine base offenses''in orderto Ssalleviate the severe

  sentencing disparity between crack and powdercocaine.'' United Statesv.Peters,843 F.3d 572,

  575 (4th Cir.2016)(citing FairSentencing Actof2010,j 2,Pub.L.No.111-220,124 Stat.
  2372,2373(coditiedat21U.S.C.j84142012))).Asrelevantintheinstantcase,section2ofthe
  Fair Sentencing A ct increased the am ount of cocaine base required to trigger the stam tory

  penaltiessetforth in j 841(b)(1)(A)from 50 gramsto 280 grams. SeePub.L.No.111-220,
  j2(a)(1),124 Stat.at2372;seealso21U.S.C.j841(b)(1)(A)(2012).Accordingly,thecourtis
  authorizedtoççimposeareducedsentenceasif(section2)werein effectatthetimethecovered
  offensewascommitted.''l15Pub.L.391,j404(b).
         W hen the Fair Sentencing Act is retroactively applied in the defendant's case, the

  statutory sentencing range forthe defendant'soffense is 120 m onthsto life im prisonm entand at

  least eight years of supervised release,based on the quantity of cocaine base charged in the

  indictmentandthepriorconvictionidentifiedinthej851notice.See21U.S.C.j841(b)(1)(B)
  (2012)(settingforthemandatory minimum penaltiesapplicabletooffensesinvolving28 grams
  or more of a mixture or substance containing cocaine base). Yhe guideline range of
  im prisonm ent that now applies in the defendant's case,based on intervening am endm ents to

  j2D1.1oftheSentencingGuidelines,is130to 162months.
         U pon review ofthe record,the courtagrees w ith the parties that a sentence reduction is

  warranted in the defendant's case. The courthas been advised that the defendant has served

  approximatély l37 monthsofhisprison sentence. Afterconsidering theparties'argumentsand

  thesentencingfactorssetforth in 18U.S.C.j3553($,andinordertomaintain consistencywith
  the reliefafforded in sim ilarcases,the courtw illreduce the defendant's tel'm ofim prisonm eùtto




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 flme served.* The courtwillalso reduce t:e defendnnt's period of supervised release to eight

 years.A11othertermsoftheoriginalsentencewillremsln thesam e.
                                                      '                                    $
            TheClerk isdirected to send copiesoftbismem orandum opM on andtheaocompanying
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            oArso:w s'          dayofFebruars 2019.



                                                SeniorUnited StatesD isG ctJudge




    .       #                                                        '
           To the extentthe defendantgeeks to beresento ced to atm ofimprisonment'hqtis less'hsn time
 servedstherequestisdenied.Asthegov- mentexplm'nRin itsDsponse,asentenceofless'l'nn timeservedwould
 allow thedefendanttohavedtbankedtime''tobeaypliedtoanyfutureterm ofimprisonmenttbatmightbeimposed
 in theeventthatthe defendantfnllmtè comply m th hiscondiions ofsupervised release. Whilethe courthasno
 renm ntobelievethatthedefendantwillbenoncomplhntonsupervision,thecourtdeclinestoamendthesentenceini
 such a mnnner tv t could provide a Rsense of T 'mmunity'' for future misconduct or otherwise impede the
 rdl
   abilittiveoblectivesofsupee edrelease. M1'11erv.Cox.443F.2d 1019,1021(4th Cir.1971);seealsog.i
 United slatesv.Johnsom 529U.
        -       -             S.53,60 (2000)(explniningthattheobje vesofsupervisedreleasewottldbe
 thwartH ifGexcessprison time wceto offsetand rH ucetm sofmpervised releaseol;M elton v.GaM son.538
 F.M 324 (4th Cir.1976)(noting thqtallowing a defendantto have 'Rbaûked * e'agaiasta futuresentc ce''kq
 Odthernece%arynorappropriate''l(dtingMlller.slmral.



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